            Case 2:07-cr-00303-GEB Document 128 Filed 05/23/13 Page 1 of 2


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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                       ) Case No.: CR.S. 07-303 GEB
     United States of America,           )
 9                                       ) STIPULATION AND ORDER TO CONTINUE
                 Plaintiff,              ) STATUS CONFERENCE
10                                       )
           vs.                           ) Court: Hon. Judge Garland E.
11                                       ) Burrell, Jr.
                                         ) Time:   9:00 a.m.
12   Rebecca Salsedo,                    ) Date:   June 28, 2013
                                         )
13               Defendant
14

15

16         Defendant Rebecca Salsedo is charged in an indictment alleging
17   four counts of violations of 21 U.S.C. §§s 841(a)(1) & § 846 –
18   Distribution and Conspiracy to Distribute Cocaine; Possession of
19   Cocaine with Intent to Distribute; and Manufacture of Marijuana.        Ms.
20   Salsedo is charged in counts one and three. A status conference was
21   previously set for May 24, 2013.     The parties are involved in defense
22   investigation, as well as negotiations and all parties request that
23   the current status conference be continued to June 28, 2013, and that
24   date is available with the Court.
25         The parties agree that time should be excluded under 18 U.S.C. §
26   3161(h)(8)(i) for defense preparation and under local code T4.
27   ///
28   ///




                                         -1-
                            Case 2:07-cr-00303-GEB Document 128 Filed 05/23/13 Page 2 of 2


     Dated: May 21, 2013
 1                                                      Respectfully submitted,
 2

 3                                                     __/s/ Shari Rusk___
                                                       Shari Rusk
 4                                                     Attorney for Defendant
                                                       Rebecca Salsedo
 5

 6
                                                         /s/ Jason Hitt
 7                                                      Jason Hitt
                                                        Assistant United States Attorney
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10

11                                                      ORDER

12

13                         IT IS SO ORDERED.   The Court finds excludable time through June

14   28, 2013, based on Local Code T4, giving counsel reasonable time to

15   prepare.

16   Date:                  5/22/2013

17
                                                      ___________________________________
18                                                    GARLAND E. BURRELL, JR.
                                                      Senior United States District Judge
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     DEAC_Signature-END:




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